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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.: 25-cr-20102-RAR

   UNITED STATES OF AMERICA,

          Plaintiff,
   v.

   WILBER ROSENDO NAVARRO-ESCOBAR,

          Defendant.


                       ORDER GRANTING DEFENDANT’S MOTION TO SEAL

          THIS CAUSE came before the Court on Defendant’s [DE ] Motion to Seal; and the

   Court having reviewed said Motion and being otherwise duly advised in the premises, it is upon

   consideration,

          ORDERED AND ADJUDGED that the motion is GRANTED.

          Defendant may file under seal his ex parte Motion Requesting Authorization of

   Expenditure of Criminal Justice Act Funds and attachments hereto and these documents will

   remain under seal until further order of the Court.

          DONE AND ORDERED at the United States District Courthouse at Miami, Florida, on

   this             day of                       , 2025.




                                                              HON. RODOLFO A. RUIZ II
                                                           UNITED STATES DISTRICT JUDGE

   cc: Counsel of record.
